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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                 Plaintiff,
                                                              File No: 1:05-CR-267
v.
                                                              HON. ROBERT HOLMES BELL
JAMIE LYNNE BUNDY,

                 Defendant.
                                         /


                              ORDER AND JUDGMENT
                      APPROVING REPORT AND RECOMMENDATION

        The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

        THEREFORE, IT IS ORDERED that:

        1.       The Report and Recommendation of the Magistrate Judge (docket # 53) is approved

and adopted as the opinion of the Court.

        2.       Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Count 1 of the Indictment.

        3.       The written plea agreement is hereby continued under advisement pending sentencing.




Date:        February 15, 2006                 /s/ Robert Holmes Bell
                                               ROBERT HOLMES BELL
                                               CHIEF UNITED STATES DISTRICT JUDGE
